                                                                      Case 2:16-cv-02764-RFB-EJY Document 79 Filed 05/06/20 Page 1 of 2




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                                                            8
                                                                                                    UNITED STATES DISTRICT COURT
                                                            9
                                                                                                         DISTRICT OF NEVADA
                                                           10
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                                                           11   BANK OF AMERICA, N.A.,                                   Case No.: 2:16-cv-02764-RFB-EJY
               1635 VILLAGE CENTER CIR., SUITE 200
                     LAS VEGAS, NEVADA 89134




                                                           12                         Plaintiff,
AKERMAN LLP




                                                                v.                                                       STIPULATION AND ORDER TO
                                                           13                                                            EXTEND DEADLINE TO FILE
                                                                                                                         SUPPLEMENTAL BRIEFING [ECF NO.
                                                           14   HIDDEN CANYON OWNERS ASSOCIATION;                        72]
                                                                SFR INVESTMENTS POOL 1, LLC; and
                                                           15   ABSOLUTE COLLECTION SERVICES, LLC;                       (FIRST REQUEST)
                                                           16                         Defendants.
                                                           17

                                                           18                Plaintiff Bank of America, N.A. (BANA) and defendant SFR Investments Pool 1, LLC,
                                                           19   stipulate and request the court extend BANA's deadline to file its supplemental briefing by fourteen
                                                           20   days, to May 15, 2020, and accordingly extend the deadlines for SFR to file its opposition and BANA
                                                           21   to file its reply, to May 29, 2020 and June 5, 2020, respectively, as follows:
                                                           22                The court entered an order ordering BANA to "submit supplement briefing no longer than ten
                                                           23   pages excluding exhibits on whether the Court has subject matter jurisdiction over this case" by May
                                                           24   1, 2020. (ECF No. 72.) The order allows oppositions to be filed by May 15, 2020 and replies by May
                                                           25   22, 2020. (Id.) BANA and SFR stipulate to extend BANA's deadline to file its briefing to May 15,
                                                           26   2020, and extend the opposition and reply briefing deadlines accordingly, to May 29, 2020 and June 5,
                                                           27   2020, respectively, to allow BANA additional time to prepare its supplemental briefing.
                                                           28   ...
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                                                                52946027;1
                                                                     Case 2:16-cv-02764-RFB-EJY Document 79 Filed 05/06/20 Page 2 of 2




                                                            1                This is BANA's first extension request. This request is not made to cause delay or prejudice to

                                                            2   any party.

                                                            3                DATED: May 1, 2020.

                                                            4 AKERMAN LLP                                                KIM GILBERT EBRON
                                                            5  /s/ Nicholas E. Belay, Esq..                               /s/ Diana S. Ebron, Esq.
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                                                                                                                         LLC
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               1635 VILLAGE CENTER CIR., SUITE 200
                     LAS VEGAS, NEVADA 89134




                                                           12
                                                                                                                    ORDER
AKERMAN LLP




                                                           13

                                                           14                IT IS SO ORDERED.                    ________________________________
                                                                                                                  RICHARD F. BOULWARE, II
                                                           15
                                                                                                                  UNITED STATES DISTRICT JUDGE
                                                           16                                                      __________________________________
                                                                                                                  DATED this
                                                                                                                  UNITED        5th day
                                                                                                                           STATES       of May, 2020.
                                                                                                                                     DISTRICT   JUDGE
                                                           17                                                     Case No.: 2:16-cv-02764-RFB-EJY

                                                           18                                                     DATED: __________________________

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